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IN THE UNITED STATES DISTRICT COURT FILED
2015 0CT-5 py 1:49

AMARILLO DIVISION DEPUTY cm (CO

FOR THE NORTHERN DISTRICT OF TEXAS

TERRA PARTNERS, TERRA XXI, LTD.,
ROBERT WAYNE VEIGEL, ELLA MARIE
WILLIAMS VEIGEL, VEIGEL FARMS,
INC., VEIGEL CATTLE COMPANY, and
VEIGEL FARM PARTNERS, CIVIL ACTION CAUSE NUMBER
PLAINTIFFS, 2:15-CV-236-J
VS.

AG ACCEPTANCE CORPORATION,

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DEFENDANT.

ORDER GRANTING LEAVE TO FILE
Before the Court is the Plaintiffs’ putative motion wherein they request leave to file an
amended complaint. That motion is granted as follows. Plaintiffs may file the motion for leave to

amend, and that motion is granted. Plaintiffs are to promptly file the proposed amended complaint.

It is SO ORDERED.

Signed this the ___ 5th day of October, 2015.

S/_ Mary Lou Robinson
MARY LOU ROBINSON
UNITED STATES DISTRICT JUDGE
